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 1   DANIEL J. BRODERICK
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     BRIAN ARMENTA
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,    )
                                  )          Case No. CR.S-07-249-LKK
10                  Plaintiff,    )
                                  )
11             v.                 )          ORDER CONTINUING CASE AND
                                  )          EXCLUDING TIME
12   BRIAN ARMENTA,               )
                                  )
13                  Defendants. )
                                  )
14   ____________________________ )
15
             The above case appeared on this court's calendar on October 30,
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     2007.    At that time Assistant Federal Defender Rachelle Barbour
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     appeared for Defendant BRIAN ARMENTA, who is in custody.             Daniel M.
18
     Davis appeared for Defendant DAVID GUERRERO, also in custody.
19
     Assistant United States Attorney Mary Grad appeared for the government.
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             Defense counsel requested additional time to discuss the case with
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     the government and determine if the case can be resolved with plea
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     agreements.     Exclusion of time under the Speedy Trial Act until
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     December 11, 2007 was consented to by Armenta and Guerrero, and was
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     stipulated to on the record by the government.           The continuance was
25
     granted.
26
     //
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     //
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           Case 2:07-cr-00249-TLN Document 27 Filed 11/01/07 Page 2 of 2


 1        For the reasons just stated, this case is continued for further
 2   status conference until December 11, 2007 at 9:30 a.m. on this court's
 3   criminal calendar.   Time for trial under the Speedy Trial Act, 18
 4   U.S.C. § 3161 et. seq. is excluded pursuant to 18 U.S.C. §
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     3161(h)(8)(A) & (B)(iv).
 6
            IT IS SO ORDERED.
 7
                                      By the Court,
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     Dated: October 31, 2007
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